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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

AEYE, INC.
f/k/a CF FINANCE ACQUISITION CORP. III,                        Case No. 1:22 Civ. 04964 (RA)
                                                               (VF)
                              Plaintiff and
                              Counterclaim-Defendant,          CONFIDENTIALITY
                                                               STIPULATION AND
       v.                                                      [PROPOSED] PROTECTIVE
                                                               ORDER

ALL BLUE FALCONS FZE,

                              Defendant and
                              Counterclaim-Plaintiff.

         WHEREAS, the Parties having agreed to the following terms of confidentiality, and
 the Court having found that good cause exists for the issuance of an appropriately tailored
 confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is
 hereby:

          ORDERED that the following restrictions and procedures shall apply to the
 information and documents exchanged by the parties in connection with the pre-trial phase of
 this action:

         1.      Counsel for any party may designate any document or information, in whole or
 in part, as confidential if counsel determines, in good faith, that such designation is necessary
 to protect the interests of the client in information that is proprietary, a trade secret or
 otherwise sensitive non-public information. Information and documents designated by a party
 as confidential will be stamped “CONFIDENTIAL.”

         2.     The Confidential Information disclosed will be held and used by the person
 receiving such information solely for use in connection with the action.

         3.     In the event a party challenges another party’s designation of confidentiality,
 counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution,
 the challenging party may seek resolution by the Court. Nothing in this Protective Order
 constitutes an admission by any party that Confidential Information disclosed in this case is
 relevant or admissible. Each party reserves the right to object to the use or admissibility of the
 Confidential Information.

        4.      Any Party who requires a designation of “For Attorneys’ or Experts’ Eyes
 Only” (or similar designation seeking additional limits on disclosure) for one or more
 documents in its production, may at any time before the trial of this action, produce such
 designated documents to counsel for the recipient Parties along with a written notice stating
 with particularity the grounds or bases for the designation. If the receiving party objects to the

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designation(s), the parties shall meet and confer in good faith regarding that designation. If the
Parties cannot reach agreement promptly, counsel for all affected Parties will address their
dispute to this Court in accordance with Rule II(c) of this Court’s Individual Practice in Civil
Cases. All other documents designated as “CONFIDENTIAL” shall not be disclosed to any
person, except:

            a.      The requesting party and counsel, including in-house counsel;

            b.      Employees of such counsel assigned to and necessary to assist in
                    the litigation;

            c.      Consultants or experts assisting in the prosecution or defense of the matter,
                    to the extent deemed necessary by counsel; and

           d.      The Court (including the mediator, or other person having access to
                   any Confidential Information by virtue of his or her position with the
                   Court).

       5.     Prior to disclosing or displaying the Confidential Information to any person,
counsel must:

           a.      Inform the person of the confidential nature of the information or documents;

           b.      Inform the person that this Court has enjoined the use of the information or
                   documents by him/her for any purpose other than this litigation and has
                   enjoined the disclosure of the information or documents to any other person;
                   and

           c.      Require each such person to sign an agreement to be bound by this Order in
                   the form attached as Exhibit A.

       6.      The disclosure of a document or information without designating it as
“Confidential” shall not constitute a waiver of the right to designate such document or
information as Confidential Information. If so designated, the document or information shall
thenceforth be treated as Confidential Information subject to all the terms of this Stipulation and
Order.

         7.     Any Personally Identifying Information (“PII”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft)
exchanged in discovery shall be maintained by the receiving party in a manner that is secure
and confidential and shared only with authorized individuals in a secure manner. The producing
party may specify the minimal level of protection expected in the storage and transfer of its
information. In the event the party who received PII experiences a data breach, it shall
immediately notify the producing party of same and cooperate with the producing party to
address and remedy the breach. Nothing herein shall preclude the producing party from
asserting legal claims or constitute a waiver of legal rights and defenses in the event of
litigation arising out of the receiving party’s failure to appropriately protect PII from
unauthorized disclosure.

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        8.     Pursuant to Federal Rule of Evidence 502, the production of privileged or
work-product protected documents or communications, electronically stored information
(“ESI”) or information, whether inadvertent or otherwise, shall not constitute a waiver of the
privilege or protection from discovery in this case or in any other federal or state proceeding.
This Order shall be interpreted to provide the maximum protection allowed by Federal
Rule of Evidence 502(d). Nothing contained herein is intended to or shall serve to limit a
party’s right to conduct a review of documents, ESI or information (including
metadata) for relevance, responsiveness and/or segregation of privileged and/or
protected information before production.

        9.      Notwithstanding the designation of information as “Confidential” in discovery,
there is no presumption that such information shall be filed with the Court under seal. The
parties shall follow the Court’s procedures for requests for filing under seal.

        10.     At the conclusion of litigation, Confidential Information and any copies thereof
shall be promptly (and in no event later than 30 days after entry of final judgment no longer
subject to further appeal) returned to the producing party or certified as destroyed, except that
the parties’ counsel shall be permitted to retain their working files on the condition that those
files will remain protected.

      11.     Nothing herein shall preclude the parties from disclosing material designated to
be Confidential Information if otherwise required by law or pursuant to a valid subpoena.


SO STIPULATED AND AGREED.


ATTORNEYS FOR PLAINTIFF AND                             ATTORNEYS FOR DEFENDANT AND
COUNTERCLAIM DEFENDANT AEYE, INC.:                      COUNTERCLAIM PLAINTIFF ALL BLUE
                                                        FALCONS FZE:

SHER TREMONTE LLP
                                                        OLSHAN FROME WOLOSKY LLP

By:
      Erica Wolff                                       By:
      Kimo S. Peluso                                          Jeremy M. King
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Dated:        New York, New York              Dated:        New York, New York
              December 7, 2022                              December 7, 2022




                                                  SO ORDERED.


                                                  VALERIE FIGUEREDO
                                                  United States Magistrate Judge
                                                   Dated: 12-8-2022




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                                            Exhibit A

                                           Agreement



        I, ___________________________________________, have been informed by counsel
that certain documents or information to be disclosed to me in connection with the matter entitled
have been designated as confidential. I have been informed that any such documents or
information labeled “CONFIDENTIAL” or “FOR ATTORNEYS’ OR EXPERTS’ EYES
ONLY” are confidential by Order of the Court.

         I hereby agree that I will not disclose any information contained in such documents to any
other person. I further agree not to use any such information for any purpose other than this
litigation.




DATED:




Signed in the presence of:




(Attorney)




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